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Loan Solutions placed me in an impossible situation as they sued me based on a promissory
note, even though they could not provide me with the promissory note.

20. In seeking counsel to determine my rights, I had several out-of-pocket expenses such as
parking and gas, which I estimate to total $19.50.

21. I also sent my request for information to Student Loan Solutions (through its attorney) via
certified mail, to make sure that it was received. I paid $6.95 to send it that way.

22. During this case, I was shown documents provided by Student Loan Solutions as part of
the exchange of information in this case. I now realize that the company that I made
payments to in 2016 claims they were collecting on the same debt in this case.

23.In hindsight, I never should have paid Williams and Fudge any money. I feel a bit
embarrassed for having paid them, but I was scared by their threats and was busy focusing
on my new career as a teacher. It was probably naive of me to simply pay because I was
told to pay, but I am unfamiliar with the legal system and it was easier to just pay $50 per
month to not have to deal with the problem and their threats. I now regret making those
payments because I fear that Student Loan Solutions will try to use my naivete against me
in this case.

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
STATES AND THE STATE OF WASHINGTON THAT THE FOREGOING IS TRUE AND
CORRECT.

DATED this__12 day of March 2021 at _11414 105% Ave SW Apt JO7 Lakewood, WA

Amanda Schick

DECLARATION OF AMANDA SCHICK - 4 ANDERSON | SANTIAGO
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